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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 15-482V
                                    Filed: February 23, 2016
                                         UNPUBLISHED

****************************
JAMES CZERWONKA,                          *
                                          *
                     Petitioner,          *      Joint Stipulation on Damages;
                                          *      Influenza (“Flu”) Vaccine;
                                          *      Guillain-Barré Syndrome (“GBS”);
SECRETARY OF HEALTH                       *      Chronic Inflammatory Demyelinating
AND HUMAN SERVICES,                       *      Polyradicular Neuropathy (“CIDP”);
                                          *      Special Processing Unit (“SPU”)
                     Respondent.          *
                                          *
****************************
Maximillian Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Heather Pearlman, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

       On May 11, 2015, James Czerwonka (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 [the “Vaccine Act”]. Petitioner alleges that he suffered Guillain-
Barré Syndrome (“GBS”) and chronic inflammatory demyelinating polyradicular
neuropathy (“CIDP”) after receiving the influenza vaccine on October 31, 2013. Petition
at 1, ¶¶ 3, 7, 9; see also Stipulation, filed Feb. 23, 2016, ¶¶ 2, 4. Petitioner further
alleges that he suffered his symptoms for more than six months and has never received
compensation for his vaccine-related injuries. Petition, ¶¶ 9, 11; see also Stipulation, ¶¶
4-5. “Respondent denies that petitioner suffered GBS, CIDP, or any other injury that
was caused-in-fact by his October 31, 2013 influenza vaccination; denies that his
current disabilities are sequelae of these injuries; and denies that he experienced the
residual effects of his injuries for more than six months.” Stipulation, ¶ 6.

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on February 23, 2016, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

        The parties stipulated that petitioner shall receive the following compensation:

        A lump sum of $148,926.64 in the form of a check payable to petitioner.
        Stipulation, ¶ 8. This amount represents compensation for all items of damages
        that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
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